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                          EXHIBIT A
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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN

  MICHAEL BOWMAN, individually
  and on behalf of all others similarly
  situated,
                                               Case No. 17-cv-11630-NGE
                      Plaintiff,
                                               Hon. Nancy G. Edmunds
  v.
                                               Mag. R. Steven Whalen
  ART VAN FURNITURE, INC., a
  Michigan corporation,

                     Defendant.


                   DECLARATION OF STEVEN L. WOODROW

  I, Steven L. Woodrow, declare as follows:

        1.     I am over the age of eighteen (18) and am one of the attorneys for the

  plaintiff in this matter who is seeking the Court's appointment as Settlement Class

  Counsel. I make this declaration in support of Plaintiff’s Motion for Preliminary

  Approval of the Class Action Settlement Agreement reached in the above

  captioned litigation.

        2.     I make the following statements based upon my own personal

  knowledge and based on facts learned during the litigation of this case, and I am

  able to testify to the matters set forth herein if called upon to do so.

  Class Counsel’s Pre-Suit Investigation and Early Litigation

        3.     Prior to this lawsuit being filed, my firm conducted an extensive
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  investigation into Art Van Furniture, Inc. (“Art Van” or “Defendant”) and its

  alleged making of telemarketing calls to consumers. This investigation included

  reviewing and analyzing publicly-available information regarding Art Van and its

  operations as well as its marketing activities. This included a review of available

  information regarding Art Van’s telemarketing activities and corresponding

  complaints, including Art Van's use of social media platforms to advertise events

  and sales that were being promoted in its telemarketing campaigns.

         4.     Based on information provided by Plaintiff Michael Bowman as well

  as our in-depth investigation, we had a good faith basis for concluding that Art Van

  used a pre-recorded voice to make calls as part of its calling campaigns. We further

  were able to discern a good faith basis for alleging that Art Van lacked oral prior

  express consent to place such calls, and that it never obtained written prior express

  consent. We were also able to determine that the calls most likely constituted

  telemarketing as they allegedly encouraged the purchase of Art Van furniture on or

  after the calls.

         5.     Based on such conclusions, we were able to allege that Defendant

  violated the Telephone Consumer Protection Act (“TCPA”) not only with respect

  to Bowman but en masse with respect to hundreds or thousands of other people.

         6.     Thereafter, we drafted and revised the pleadings in this case and filed

  the lawsuit on behalf of Plaintiff Bowman and a nationwide class of similarly-
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  situated telephone users.

        7.     We then worked to obtain service and prepared to litigate the case,

  including the preparation of early outlines of necessary discovery and conferences

  regarding our overall case strategy.

  The Parties Commence Early Settlement Discussions

        8.     Following the filing of the initial Complaint, counsel for the parties

  engaged in early discussions regarding their respective views of the case as well as

  to exchange preliminary factual details. These discussions included myself, Steven

  Woodrow, and Art Van's General Counsel.

        9.     Shortly thereafter, lawyers from the Detroit-based law firm of

  Dykema Gossett PLLC appeared on behalf of Art Van. The talks that had

  previously taken place with Art Van's general counsel shifted to its outside

  lawyers. Through these discussions we were able to engage in additional informal

  fact-finding, which uncovered that the calls at issue were made to Mr. Bowman’s

  landline telephone and had been forwarded to his cellphone. Based on this

  information Art Van was able to identify the calls it placed to Bowman.

        10.    Given that the calls were not made directly to his cellphone, on July

  12, 2017, Bowman filed a First Amended Complaint, which clarified the fact that

  he had received pre-recorded voice calls on his residential landline phone.

        11.    On August 21, 2017, Art Van’s lawyers at Dykema Gossett filed a
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  Motion to Withdraw and new counsel from the law firm of Kellogg, Hansen, Todd,

  Figel & Frederick, P.L.L.C. (a Washington D.C.-based litigation and trial

  powerhouse) appeared in the case along with Martin Jaszczuk of Jaszczuk PC (a

  very well-respected and well-known TCPA defense lawyer).

        12.    Art Van filed a Motion to Dismiss and Strike Class Allegations.

  Shortly thereafter—and in the midst of preparations for the hearing regarding Art

  Van’s Motion to Dismiss—counsel for both Parties began discussing the potential

  for engaging in early settlement negotiations. A primary driver of such discussions

  was the realization that, even if the litigation proved to be successful, a judgment

  worth billions of dollars would have forced Art Van into bankruptcy.

        13.    Given these realities, both parties agreed to further engage in

  settlement discussions through a formal mediation process by scheduling a

  mediation with the Honorable Morton J. Denlow (ret.) of JAMS in Chicago.

  Magistrate Judge Denlow has substantial experience mediating consumer class

  actions in general and TCPA class actions specifically. Indeed, Magistrate Judge

  Denlow has aided parties in achieving some of the largest TCPA class action

  settlements in the Country.

        14.    Prior to the mediation, and in accordance with Magistrate Judge

  Denlow's procedures, the parties exchanged critical information regarding the

  number of persons called, the total number of calls at issue, and the general
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  framework of Art Van’s calling campaigns. The information revealed that the class

  size was in the range of 1 million (mostly former) customers. Ultimately Art Van,

  through its vendor, located 1,150,000 individual phone numbers called during the

  4-year period preceding the filing of the original Complaint, representing the

  approximate class size. Art Van’s data also includes the names and addresses for

  all but roughly 20,000 to 40,000 individual phone numbers.

        15.    Hence, in the lead up to the mediation, and as part of the mediation

  process, the parties exchanged updated information regarding the size and scope of

  the proposed class as well as Art Van’s planned defenses. In accordance with the

  mediator's procedures, which includes a detailed checklist of proposed terms, the

  Parties also exchanged mediation briefs and proposed class action settlement

  terms, including the class definition, the type of relief (common fund or

  prospective relief or both), and a proposed notice plan. These briefs and the

  mediator's checklist helped set up the mediation session for a productive

  conversation regarding the settlement framework.

        16.    Despite a constructive full-day mediation session in Chicago

  facilitated by Magistrate Judge Denlow, the parties were unable to reach an

  agreement in principle at the mediation session itself. The parties agreed to proceed

  with the previously scheduled hearing on Art Van’s Motion to Dismiss and to

  Strike Class Allegations.
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        17.      However, the parties also agreed to continue discussions regarding a

  possible settlement to see if the matter could be resolved prior to the hearing on Art

  Van's Motion to Dismiss and to Strike Class Allegations. Hence, between the close

  of the mediation and the scheduled hearing, Judge Denlow worked with the Parties

  on a parallel settlement track by engaging counsel on both sides in a series of

  telephone negotiations.

        18.      Several days prior to the hearing on Art Van's Motion to Dismiss, the

  parties reached an agreement in principle with respect to the relief to be provided

  to the proposed Settlement Class Members. Only after an agreement with respect

  to the Class Members was reached in principle did counsel for the parties discuss,

  through their exchange of drafts of documents, the issues of reasonable attorneys’

  fees for proposed class counsel as well as an incentive award for the class

  representatives.

        19.      Thereafter, counsel for the parties worked to draft the settlement

  agreement, claim form, and all of the notices. During this time any additional

  issues that arose were resolved following further discussions between counsel for

  the Parties.

  The Parties Obtain Preliminary Approval and Issue Notice to the Class

        20.      Following the disclosure of the settlement in principal to the Court the

  Parties exchanged drafts of the Settlement Agreement and notice documents. Once
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  the finer details of the Settlement Agreement and the notices were finalized and the

  agreement was executed, Class Counsel drafted the papers in support of

  Preliminary Approval. The Court granted preliminary approval of the settlement on

  July 23, 2018. (Dkt. 39.)

        21.    Following preliminary approval of the settlement agreement, the

  parties worked in tandem to implement the Settlement, which has included

  working with the Settlement Administrator to edit, finalize, and approve the

  Settlement Website, including the Q&A sections, interactive voice recording (IVR)

  messaging, and other settlement and notice materials.

        22.    Class Counsel has also communicated regularly with the Settlement

  Administrator regarding mailings, opt outs, and re-mailings.

        23.    Additionally, Class Counsel have also assisted more than 800

  Settlement Class Members who have contacted their offices with questions

  regarding the Settlement’s terms and process. This has included assisting

  individuals with the filing of their claims and hiring an additional clerk to assist in

  handling the high volume of calls that Class Counsel’s office has received.

        24.    Furthermore, shortly following the date the short form Notice was

  mailed out to the Settlement Class Members, the Parties began receiving weekly

  reports from the Settlement Administrator detailing the number of claims filed and

  processed. The Settlement Class Members who we communicated with over the
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  phone were frankly excited by the prospect of being able to file a claim and

  recover their portion of the settlement.

        25.    The Settlement Administrator has provided data regarding the number

  of claims filed, as well as the number of opt-outs received. The Settlement

  Administrator has indicated that information about unsuccessful attempts to

  complete the claims form online is unavailable.

  Class Counsel’s Opinion of the Settlement

        26.    The terms of the Settlement Agreement are unquestionably strong,

  particularly when weighed against other TCPA settlements reached to date.

        27.    The strength of the Settlement is probably most evident when viewed

  in light of the potential defenses and the possibility of a prolonged and extensive

  litigation process. Art Van was set to argue that this case could never be certified

  as a class action, that its calls were not telemarketing calls, and that the law should

  not be construed so as to put the company on the hook for billions of dollars in

  damages for phone calls that it made. Art Van's counsel also made the point that,

  even if Plaintiff and the class members could overcome the company's defenses,

  Art Van would likely be rendered insolvent by any meaningful judgment, thereby

  making any possible substantial recovery difficult and protracted.

        28.    My firm, along with co-counsel Stefan Coleman of the Law Offices of

  Stefan Coleman, P.A., have extensive experience litigating TCPA class actions and
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  have devoted substantial resources to the present litigation. We will continue to do

  so. We support this Settlement as being fair, reasonable, and adequate and in the

  best interest of the Settlement Class. The amount afforded to the proposed

  Settlement Class falls squarely in the range of dollar amounts approved by courts

  overseeing TCPA class action settlements all across the Country, and the instant

  settlement affords strong prospective relief designed to reduce (if not wholly

  eliminate) the making of these unwanted calls.

        Further affiant sayeth not.



        Signed under penalty of perjury this 10th day of October 2018 in Denver,

  Colorado.



                                               /s/ Steven L. Woodrow
                                               Steven L. Woodrow
